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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


    CONRAD SMITH, et al.,

                         Plaintiffs,
                                                       Civil Action No. 1:21-cv-02265-APM
                 v.

    DONALD J. TRUMP, et al.,

                         Defendants.


                             STIPULATED PROTECTIVE ORDER

         Pursuant to Federal Rule of Civil Procedure 26(c)(1), and for good cause shown, the Court

hereby enters the following Stipulated Protective Order:

         WHEREAS, during the course of the above-captioned action, including any related dis-

covery, pre-trial, trial, post-trial or appellate proceedings (the Action), the parties to this Action

(the Parties) 1 and third parties may be required to disclose confidential and sensitive information

within the meaning of Rule 26(c) of the Federal Rules of Civil Procedure;

         WHEREAS, a protective order pursuant to Rule 26(c) is necessary in this Action to prevent

unnecessary disclosure or dissemination of such confidential and sensitive information, facilitate

discovery, and ensure efficient and prompt resolution of this Action;




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  The Parties are Plaintiffs Conrad Smith, Danny McElroy, Byron Evans, Governor Latson,
Melissa Marshall, Michael Fortune, Jason DeRoche, and Reginald Cleveland, and Defendants
Donald J. Trump, Make America Great Again PAC, Donald J. Trump For President, Inc., Brandon
J. Straka, Enrique Tarrio, Ethan Nordean, Joseph R. Biggs, Zachary Rehl, Thomas E. Caldwell,
Kelly Meggs, Alan Hostetter, Russel Taylor, Erik Scott Warner, Felipe Antonio Martinez, Derek
Kinnison, Ronald Mele. As of May 26, 2023, Defendants Stop The Steal L.L.C., Proud Boys,
Proud Boys International, L.L.C., Charles Donohoe, Dominic J. Pezzola, Oath Keepers, Stewart
Rhodes, and Jessica Watkins have not appeared in this Action. This Stipulated Protective Order
shall apply to and bind any party who appears in this Action after its issuance.
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       WHEREAS, certain Parties have stipulated to the provisions set forth below, as reflected

in the signatures at the end of this Stipulated Protective Order;

       THEREFORE, IT IS HEREBY ORDERED that the following provisions of this Stipulated

Protective Order shall control the disclosure, dissemination, and use of material produced in dis-

covery in this Action:

       1.      This Stipulated Protective Order is being entered to facilitate the production, ex-

change and discovery of documents, electronically stored information, testimony, and tangible

things in this Action (collectively, Discovery Material) that merit protection from unauthorized

disclosure (Designated Material).

               a.        Confidential Material. As used herein, Confidential Material means any

Discovery Material that has been specifically marked or designated as Confidential by any Party

or non-party (the Designating Party) and that includes any Discovery Material that a Designating

Party reasonably and in good faith believes constitutes or discloses information that is not available

to the public and that constitutes or discloses: (1) private health or medical records of any person;

(2) personally identifying information of any person, including identification numbers, addresses,

and telephone numbers for any person, and the name of any minor child; (3) confidential personal

correspondence, notes, or communications; (4) confidential policies, protocols, sources, or meth-

ods of the United States Capitol Police, Washington, D.C. Metropolitan Police Department, or

other law-enforcement agency; (5) personnel or employment records of any person; (6) confiden-

tial financial records; (7) competitively or commercially sensitive information; (8) confidential

and sensitive political records relating to the performance of duties in the executive branch of the

United States government; and (9) confidential and sensitive records relating to the 2020 Presi-

dential Election. All complete or partial copies of Confidential Material, written summaries of



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Confidential Material, and information derived from Confidential Material constitute Confidential

Material subject to the terms of this Stipulated Protective Order.

               b.      Attorneys Eyes Only Material. As used herein, AEO Material means

any Discovery Material that that has been specifically marked or designated as Attorneys Eyes

Only by any Designating Party and that includes Discovery Material that the Designating Party

reasonably and in good faith believes constitutes or discloses information that is of such a sensitive

nature that its dissemination cannot adequately be protected by the Confidential Material designa-

tion.

               c.      For the avoidance of doubt, information available in the public domain shall

not constitute Designated Material. The following Discovery Materials shall not be designated as

Designated Material unless the custodian of such Discovery Material (i.e., the United States Cap-

itol Police, Washington, D.C. Metropolitan Police Department, Office of the Architect of the Cap-

itol, Speaker of the House, etc.) indicates that they should be so designated: (1) video surveillance

recordings and audio surveillance recordings of, and from, the United States Capitol buildings and

grounds that were recorded on January 6, 2021; (2) United States Capitol Police and Washington

D.C. Metropolitan Police Department Computer Aided Dispatch System documents and record-

ings from January 6, 2021; (3) law enforcement officer body-worn camera recordings that were

recorded by officers on duty at the United States Capitol buildings and grounds on January 6, 2021;

and (4) law enforcement motor vehicle dashboard camera, MVR video recording device, or similar

recording device recordings that were recorded at the United States Capitol buildings and grounds

on January 6, 2021.




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       2.      Manner of Designation.

               a.      Discovery Material may be designated as Designated Material under this

Stipulated Protective Order by the person or entity producing it (the Producing Party), or by any

other Party to this action, either by placing or affixing the phrase CONFIDENTIAL or AT-

TORNEYS EYES ONLY on each designated page of the so-designated Discovery Material in a

manner that will not interfere with its legibility or readability, or by making a statement on the

record of a deposition, or by following the procedures set forth in Paragraph 4 following a depo-

sition, or by other means agreed to by the Parties.

               b.      If a Producing Party produced any Discovery Material prior to the effective

date of this Order, then the Producing Party may designate, within 14 days from the date of this

Order, any such Discovery Material as Designated Material. The provisions of Paragraph 7 (Chal-

lenges to Confidentiality Designations) still apply to the designation of prior produced documents

as Designated Material. The Parties agree that, pending the resolution of any such disputed matter,

under Paragraph 7, they will treat the information or document as Designated Material under the

terms of this Order.

               c.      To the extent consistent with applicable law, the inadvertent or uninten-

tional disclosure of Discovery Material that a Producing Party believes in good faith should have

been designated as Designated Material, regardless of whether the Discovery Material was so des-

ignated at the time of disclosure, will not be deemed a waiver in whole or in part of the Producing

Partys claim of confidentiality, either as to the specific Discovery Material disclosed or as to any

other Discovery Material concerning the same or related subject matter. Such inadvertent or unin-

tentional disclosure may be rectified by notifying, in writing, counsel for all Parties to whom the

Discovery Material was disclosed that the Discovery Material should have been designated as



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Designated Material within a reasonable time after disclosure. Such notice will constitute a desig-

nation of the relevant Discovery Material as Designated Material under this Stipulated Protective

Order.

         3.    Protection of Designated Material.

               a.      Designated Material may be used by a Party other than the Designating

Party only for the prosecution and/or defense of claims asserted in this Action. Designated Material

may not be used by such Party for any other purpose, including but not limited to any use by such

Party in any other country, state, federal, local and/or municipal, administrative or legal proceed-

ing, lawsuit, enforcement action, arbitration, mediation, or other proceedings, regardless of the

nature of the relationship between such proceeding and the claims asserted to this action. Desig-

nated Material must not be made public at any time, except as permitted under this Stipulated

Protective Order. Notwithstanding the foregoing, a Party other than the Designating Party may

disclose Designated Material as permitted under this Stipulated Protective Order.

               b.      A Party other than the Designating Party may disclose Designated Material

to only the following persons:

                       (i)       The Parties to this Action, provided that AEO Material may not be
                                 disclosed to the Parties, and further provided that counsel expressly
                                 advises each Party represented by such counsel of the need to main-
                                 tain the confidentiality of Confidential Material pursuant to the
                                 terms of this Stipulated Protective Order;

                       (ii)      Any Persons who appear on the face of the Designated Material as
                                 an author, addressee, or recipient thereof;

                       (iii)     Any Persons in whose files the Designated Material was found or
                                 any custodian who otherwise possessed the Designated Material;

                       (iv)      Counsel representing any Party in connection with this Action, and
                                 their associates, legal assistants, and other support employees who
                                 are assisting in this Action;



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                      (v)      Counsel representing any party in connection with any action desig-
                               nated by the Court as related to this Action, including the actions
                               captioned Thompson v. Trump, No. 21-cv-400-APM (D.D.C.),
                               Swalwell v. Trump, No. 21-cv-586-APM (D.D.C.), Blassingame v.
                               Trump, No. 21-cv-858-APM (D.D.C.), District of Columbia v.
                               Proud Boys International, LLC, No. 21-cv-3267-APM (D.D.C.),
                               Tabron v. Trump, No. 22-cv-11-APM (D.D.C.), Kirkland v. Trump,
                               No. 22-cv-34-APM (D.D.C.), Moore v. Trump, No. 22-cv-100-
                               APM (D.D.C.), and their associates, legal assistants, and other sup-
                               port employees who are assisting in such action, subject to the terms
                               of Paragraph 3(c) below;

                      (vi)     Any expert, consultant, mediator, arbitrator, mock juror, or other
                               professional consulted or retained for the purposes of this Action, as
                               well as such professionals support staff, subject to the terms of Par-
                               agraph 3(c) below;

                      (vii)    Personnel of third-party vendors engaged by any of the Parties to
                               assist in (a) the coding, imaging, or other management of documents
                               for purposes of this litigation; or (b) the preparation of demonstra-
                               tive exhibits or other visual aids for presentation at a hearing or trial,
                               in either case (a) or (b) subject to the terms of Paragraph 3(c) below;

                      (viii)   The Court and authorized Court personnel, including court reporters
                               and videographers at any deposition taken in this case, provided that
                               a Party wishing to use Designated Material in open court must give
                               prior notice of such Partys intent to do so to the Designating Party,
                               and provide reasonable opportunity for the opposing party to object
                               and seek an appropriate remedy, including an order of this Court;
                               and

                      (ix)     Jurors and witnesses at any hearing, deposition, or trial of this case,
                               provided that a Party wishing to show Designated Material to jurors
                               or a witness in open court must give prior notice of such Partys
                               intent to do so to the Designating Party, and provide reasonable op-
                               portunity for the opposing party to object and seek an appropriate
                               remedy, including an order of this Court; and

                      (x)      Any other person who is permitted to receive such Designated Ma-
                               terial pursuant to an order of this Court or the prior written consent
                               of the Designating Party.

               c.     Before any Designated Material may be disclosed to any person described

in Paragraph 3(b)(v), (b)(vi), or (b)(vii), each such person must attest under oath, in a written

document in the form attached hereto as Exhibit A, that he or she is fully familiar and agrees to

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comply with the terms of this Stipulated Protective Order and further agrees to submit to the juris-

diction of this Court with respect to any disputes arising under this Stipulated Protective Order.

Counsel must maintain a copy of each signed Exhibit A until the final termination of this Action,

as set forth in Paragraph 10 below.

        4.      Depositions. Unless all Parties agree otherwise on the record at the time the depo-

sition testimony is taken, all deposition testimony taken in this Action shall presumptively be

treated as Designated Material until the 30th calendar day after the deposition transcript is deliv-

ered to any Party or the witness (the 30-Day Period). Within the 30-Day Period, a Party may

designate any portion of such deposition transcript as Designated Material by sending written no-

tice to all other Parties identifying the specific portions of testimony that are so designated. After

the expiration of the 30-Day Period, only designated portions of the deposition transcript will be

protected by the terms of this Stipulated Protective Order.

        5.      Inadvertent Disclosures; No Waiver of Privilege.

                a.      The inadvertent disclosure of Discovery Material subject to a claim of at-

torney-client privilege, work product protection, or other applicable privilege or protection (Priv-

ileged Discovery Material), is not a waiver of privilege or of protection from discovery in this

Action or in any other federal or state proceeding. For example, the mere disclosure of privileged

or work product protected documents in this Action as part of a production of multiple documents

will be considered inadvertent and will not, by itself, constitute a waiver in this case or in any other

federal or state proceeding. This Stipulated Protective Order should be interpreted to provide the

maximum protection allowed by Federal Rule of Evidence 502(d) and any analogous state rule of

evidence.




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               b.      A Party or non-party seeking protection for inadvertently disclosed Privi-

leged Discovery Material is not required to show that reasonable steps were taken to avoid the

inadvertent disclosure of such documents or information. Upon receiving written notice from a

Producing Party that Privileged Discovery Material has been produced (a Clawback Notice), the

Party or Parties that have received privileged or protected documents (the Receiving Party) (1)

must promptly return, sequester, or destroy the specified Privileged Discovery Material and any

copies the Receiving Party may have, including by deleting or otherwise permanently removing

the Privileged Discovery Material from any document review databases, e-rooms, and other sys-

tems used by the Receiving Party to house documents; (2) must not use or disclose the Privileged

Discovery Material until the Producing Partys privilege claim is resolved; and (3) must take rea-

sonable steps to retrieve and destroy the Privileged Discovery Material from any third parties to

whom the Receiving Party disclosed such Privileged Discovery Material before receiving the

Clawback Notice.

               c.      Within 14 days of serving a Clawback Notice, the Producing Party must

provide the Receiving Party with a privilege log for the Privileged Discovery Material at issue,

from which the Receiving Party can determine whether or not to challenge the claim of privilege

or other protection for those documents. Such a challenge by the Receiving Party, however, may

not allege that privilege was waived for the challenged documents because they were produced as

part of a mass production.

               d.      The Receiving Party may make no further use of the Privileged Discovery

Material during any aspect of this matter or any other matter, including in depositions or at trial,

unless the Privileged Discovery Material is later designated by a court as not, or no longer, privi-

leged or protected. The contents of the Privileged Discovery Material must not be disclosed to



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anyone who was not already aware of such contents before the Clawback Notice was served, ex-

cept that, should the Receiving Party file a motion challenging the privilege designation of a doc-

ument on grounds other than inadvertent production, the Producing Party may submit the chal-

lenged document under seal for the Courts in camera review when it files its response to that

motion. If the Receiving Party has any notes or other work product reflecting the contents of the

privileged or protected documents, the Receiving Party may not review or use those materials

unless a court later designates the privileged or protected documents as not, or no longer, privileged

or protected.

       6.       Filing of Designated Material. This Protective Order does not, by itself, authorize

the filing of any document under seal. Any documents to be filed under seal must be done in

accordance with Local Civil Rule (LCvR) 5.1(h) or other applicable rule governing the sealing

of documents. The Parties shall take reasonable efforts to avoid filing Designated Material on the

public docket. When filing Designated Material, a Party other than the Designating Party shall also

file a motion pursuant to LCvR 5.1(h) requesting the provisional treatment of the Designated Ma-

terial as sealed to give the Designating Party a reasonable opportunity to request the sealing of

such Designated Material. The burden of justifying the sealing of any Designated Material rests

with the Designating Party. The Designating Partys failure to file a motion to seal within 7 days

of the initial filing of the Designated Material will result in the placement of such Designated

Material on the public docket. Any opposition shall be filed within 7 days of the motion to seal.

No reply shall be permitted without leave of Court.

       7.       Challenges to Confidential Designations.

                a.     A Party may challenge the propriety of any designation under this Stipu-

lated Protective Order at any time by serving the Designating Party with a captioned notice of



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objection (a Notice of Objection), which must identify with particularity the Discovery Material

as to which the designation is challenged and state the basis for each challenge.

                b.       Within 7 days following service of a Notice of Objection, or such other time

as agreed to by the relevant Parties, the Party who served the Notice of Objection (the Challenging

Party) and the Designating Party must confer in good faith, in person or by telephone, to attempt

to resolve the challenge (the Objection Conference).

                c.       In the event the Challenging Party and the Designating Party are unable to

resolve the challenge informally, the Challenging Party may notify the Court within 7 days after

the Objection Conference and request the Courts intervention to resolve the impasse.

                d.       The original designation remains effective until the Court has ruled on the

motion and during the period while any timely-filed objections are under consideration by the

Court, as provided in Fed. R. Civ. P. 72(a).

        8.      Designated Material Subpoenaed or Ordered Produced in Other Proceedings.

                a.       If a Receiving Party is served with a subpoena, discovery requests, or an

order issued in another litigation or arbitration, or in a criminal or civil investigation or regulatory

or administrative proceedings, which would compel disclosure of any material or document des-

ignated in this action as Designated Material, the Receiving Party must, to the extent permitted by

law, so notify the Designating Party, in writing and as soon as reasonably practicable

                b.       The Receiving Party must also inform in writing the person who caused the

subpoena, discovery request, or order to issue in the other proceedings that some or all of the

requested materials are the subject of this Stipulated Protective Order. In addition, the Receiving

Party must promptly deliver a copy of this Stipulated Protective Order to the requesting person in

the other proceedings.



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               c.      The purpose of imposing the duties described in this paragraph is to alert

the interested persons to the existence of this Stipulated Protective Order and to afford the Desig-

nating Party an opportunity to try to protect its Designated Material in the other proceedings.

               d.      The obligations set forth in this paragraph remain in effect while any Party

has in its possession, custody, or control Designated Material received from any Designating Party

or non-party in connection with this Action.

               e.      Nothing in this Paragraph 8 should be construed as authorizing or encour-

aging a Receiving Party in this action to disobey a lawful direction from another court or from a

government agency.

       9.      Modification of this Order. The Parties may seek modification of this Stipulated

Protective Order at any time for good cause. The Parties agree to meet and confer before seeking

to modify this Stipulated Protective Order for any reason. The restrictions imposed by this Stipu-

lated Protective Order may be modified or terminated only by order of this Court.

       10.     Obligation Upon Termination of Litigation. This Stipulated Protective Order

shall survive the termination of this action.

               a.      Within 60 days after the settlement or final adjudication of the entirety of

this Action, including any appeals (Termination), all Designated Material, and all copies thereof,

shall be returned to the relevant Designating Party (if the Designating Party so requests within 30

days after Termination and pays the reasonable costs of such return) or shall be certified to the

Designating Party as having been destroyed.

               b.      Notwithstanding anything to the contrary in this Stipulated Protective Or-

der, documents need not be destroyed if there is a written agreement by the Designating Party to

the contrary, including but not limited to the Designating Partys agreement that the Designated



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Material may be used in another legal proceeding, though Designated Material shall be destroyed

or returned at the conclusion of all other permitted proceedings in the manner set forth in Paragraph

10(a).

               c.      Notwithstanding anything to the contrary in this Stipulated Protective Or-

der, counsel of record may retain a file of any litigation documents filed with the Court in this

Action and any attorney work product in the possession or control of counsel for any Party that

reflects or includes information derived from documents or testimony designated as Designated

Material.

         11.   Seeking Additional Relief. Nothing herein prevents any party from seeking addi-

tional relief from the Court not specified in this Stipulated Protective Order, including claims of

privilege and other defenses to production or disclosure.

         12.   Asserting Privacy Rights. Nothing herein prevents any non-party from asserting

privacy rights as to documents or information held by the Parties.

         13.   Jurisdiction. The Court shall retain jurisdiction to make such amendments, modi-

fications, and additions to this Stipulated Protective Order, as well as any other related orders, as

it may from time to time deem appropriate.

         SO ORDERED.

         Entered on                   , 2023.

                                                      _________________________________
                                                          The Honorable Amit P. Mehta
                                                         United States District Court Judge




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      Approved by the parties below as to form and substance:


  /s/ Joshua S. Margolin                           /s/ Jason Caldwell Greaves
Faith E. Gay, pro hac vice                       Jesse R Binnall
Joshua S. Margolin, pro hac vice                 Jason Caldwell Greaves
Claire OBrien, pro hac vice                     BINNALL LAW GROUP
Elizabeth Snow, pro hac vice                     717 King Street, Suite 200
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                                           EXHIBIT A


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CONRAD SMITH, et al.,

                        Plaintiffs,
                                                     Civil Action No. 1:21-cv-02265-APM
                v.

 DONALD J. TRUMP, et al.,

                        Defendants.


        AGREEMENT TO BE BOUND BY STIPULATED PROTECTIVE ORDER

       My full name is __________________________________________. My address is

_____________________________________________________________________. I hereby

acknowledge that I am to have access to information designated in this action as CONFIDENTIAL

or ATTORNEYS EYES ONLY material, as permitted by the terms of the Parties Stipulated

Protective Order, in the above captioned action. I certify my understanding that such information

has been provided to me pursuant to the terms and restrictions of the Stipulated Protective Order

entered on ______________________, 2023, under paragraph 3 (Protection of Designated Mate-

rial) thereof, and that I have been given a copy of and have read said Stipulated Protective Order

and agree to be bound by the terms thereof. I further agree to subject myself to the jurisdiction of

the United States District Court for the District of Columbia regarding resolution of any matter

pertaining to said Stipulated Protective Order.
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       I declare under penalty of perjury under the laws of the United States of America and the

District of Columbia that the foregoing is true and correct.


Dated:_____________________


Signature:_________________________________


Print Name:________________________________




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                                 CERTIFICATE OF SERVICE

       I certify that on May 26, 2023, I served a copy of the foregoing filing on all parties of

record by filing it with the Clerk of the Court through the CM/ECF system, which will provide

electronic notice to all attorneys of record, and by serving the pro se Defendants who have ap-

peared in this action via first class mail or other permitted means at the addresses below.

               Thomas E. Caldwell
               P.O. Box 1120
               Berryville, VA 22611
               &
               274 Wadesville Road
               Berryville, CA 22611

               Erik Scott Warner
               28574 Moonshadow Dr.
               Menifee, CA 92584

               Alan Hostetter
               P.O. Box 1477
               San Clemente, CA 92674


 Dated: May 26, 2023                                         /s/ Joshua S. Margolin
                                                               Joshua S. Margolin
